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                              UNITED STATES DISTRICT COURT
                                             DISTRICT OF MINNESOTA
                                 CRIMINAL MOTION HEARING

UNITED STATES OF AMERICA,

                                Plaintiff,
                                                                      COURT MINUTES
v.                                                                 BEFORE: DAVID T. SCHULTZ
                                                                       U.S. Magistrate Judge
DEVEON MARQUISE BRANCH,
                                                          Case No:          22-cr-178 SRN/DTS
                                Defendant.                Date:             October 28, 2022
                                                          Court Reporter:   Maria Weinbeck
                                                          Courthouse:       Minneapolis
                                                          Courtroom:        9E
                                                          Time:             11:00 a.m. – 11:56 a.m.
                                                          Time in Court:    56 minutes
                                                          Hearing Type:     Evidentiary



APPEARANCES:

     Plaintiff: Samantha Bates, Assistant U.S. Attorney

     For Defendant: Glenn Bruder, CJA Appointment

PROCEEDINGS:

     #35 Defendant’s Motion to Suppress Evidence Obtained as the Result of a Search and Seizure
     #37 Defendant’s Motion to Suppress Post-Arrest Statement

ADDITIONAL INFORMATION:

     The hearing will continue at a later date.

     Gov’t Ex. 1: Search Warrant, Application, and Receipt/Inventory (ion scan swab of door)
     Gov’t Ex. 2: Search Warrant, Application, and Receipt/Inventory (premises)
     Gov’t Ex. 3: Video recorded statement of Branch



                                                                                                            KR
                                                                                                      Law Clerk
